SEALE

UNITED STATES DISTRICT COURT agra (ooo

EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

Plaintiff,

BENJAMIN NICOLAS,

Defendants.

INDICTMENT

THE GRAND JURY CHARGES THAT:

Beginning in or about September 2020 and continuing through on or about

February 27, 2024, in the Eastern District of Wisconsin and elsewhere,

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BENJAMIN NICOLAS

did knowingly conspire and agree with each other and with other persons known and
unknown to the Grand J ury to commit offenses against the United States in violation of
Title 18, United States Code, Section 1956(h), namely:

(a) to knowingly conduct and attempt to conduct a financial transaction affecting

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interstate and foreign commerce, which involved the proceeds of a specified unlawful activity,
that is drug trafficking, with the intent to promote the carrying on of specified unlawful
activity, that is drug trafficking, and that while conducting and attempting to conduct such
financial transaction knew that the property involved in the financial transaction represented
the proceeds of some form of unlawful activity in violation of Title 18, United States Code,
Section 1956(a)(1)(A)(Q);

(b) to knowingly conduct and attempt to conduct financial transactions affecting
interstate and foreign commerce, which transactions involved the proceeds of specified
unlawful activity, that is, drug trafficking, knowing that the transactions were designed in
whole and in part to conceal and disguise the nature, location, source, ownership, and control
of the proceeds of specified unlawful activity, and that while conducting and attempting to
conduct such financial transactions, knew that the property involved in the financial
transactions represented the proceeds of some form of unlawful activity, in violation of Title
18, United States Code, Section 1956(a)(1)(B)();

(c) to transport, transmit, and transfer and attempt to transport, transmit, and transfer
a monetary instrument and funds from a place in the United States to and through a place
outside the United States with the intent to promote the carrying on of specified unlawful
activity, in violation of Title 18, United States Code, Section 1956(a)(2)(A); and

(d) to transport, transmit, and transfer, and attempt to transport, transmit, and transfer
a monetary instrument and funds involving the proceeds of specified unlawful activity, that
is, drug trafficking, from a place in the United States to and through a place outside the United

States, knowing that the funds involved in the transportation, transmission, and transfer.

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represented the proceeds of some form of unlawful activity and knowing that such
transportation, transmission, and transfer was designed in whole and in part to conceal and
disguise the nature, location, source, ownership, and control of the proceeds of specified
unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(2)(B)@).

All in violation of Title 18, United States Code, Section 1956(h).

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FORFEITURE NOTICE

1, Upon conviction of the offense in violation of Title 18, United States Code,
Section 195 6, as set forth in this Indictment, the defendants shall forfeit to the United States of
America, pursuant to Title 18, United States Code, Section 982(a)(1), any property constituting,
or derived from, proceeds obtained, directly or indirectly, as a result of the offense and any
property involved in the offense, including but not limited to:

a. at least $17,000,000 in United States currency, in that such sum in aggregate is

property which was involved in the money laundering conspiracy offense alleged in this

Indictment or is traceable to such property.

2. If any of the property described above, as a result of any act or omission by a
defendant: cannot be located upon the exercise of due diligence; has been transferred or sold to, or
deposited with, a third person; has been placed beyond the jurisdiction of the Court; has been
substantially diminished in value; or has been commingled with other property which cannot be
subdivided without difficulty, the United States of America shall be entitled to forfeiture of

substitute property, pursuant to 21 U.S.C. § 853(p).

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GREGORY. HAANSTAD
United States Attorney

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